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                      UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 09-cr-88-01/07-SM

Adolfo Casas, et al



                                      ORDER

      Defendant's motion to continue the trial for sixty days (document no. 100) is

granted. No further continuances will be granted absent extraordinary circumstances.

      Trial has been rescheduled for the February trial period. Defendant Casas

shall file a Waiver of Speedy Trial Rights not later than November 30, 2009.

      The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18 U.S.C.

§ 3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny

the defendant the reasonable time necessary for effective preparation taking into

account the exercise of due diligence under the circumstances.
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     Final Pretrial Conference:    February 5, 2009 at 2:30 PM

     Jury Selection:               February 18, 2010 at 9:30 AM

     SO ORDERED.



November 24, 2009                     _________________________
                                   Steven J. McAuliffe
                                   Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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